

Mezinev v Tashybekova (2020 NY Slip Op 06717)





Mezinev v Tashybekova


2020 NY Slip Op 06717


Decided on November 17, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 17, 2020

Before: Manzanet-Daniels, J.P., Singh, Scarpulla, Shulman, JJ. 


Index No. 30079/16 Appeal No. 12416N Case No. 2019-04737 

[*1]Velin Mezinev, Plaintiff-Appellant,
vBermet Tashybekova, Defendant-Respondent.


Velin Mezinev, appellant pro se.
Braunstein &amp; Zuckerman, White Plains (Chanah Brenenson of counsel), for respondent.



Order, Supreme Court, New York County (Laura E. Drager, J.), entered March 29, 2019, which granted defendant wife's motion for interim counsel fees to the extent of awarding her $100,000, unanimously affirmed, without costs.
An award of interim counsel fees to the wife was proper as she was the less-monied spouse (Domestic Relations Law § 237). The court's award of only $100,000 of the more than $280,000 in fees requested by the wife is supported by the record (DeCabrera v Cabrera-Rosete , 70 NY2d 879, 881 [1987]; see also Johnson v Chapin , 12 NY3d 461, 467 [2009]). Furthermore, the interim award will be taken into account in determining the amount of the equitable distribution award (Plawner v Plawner , 208 AD2d 408 [1st Dept 1994]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 17, 2020








